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4

5    Attorney for: Andrew Madi
6
                        UNITED STATES DISTRICT COURT
7
                       CENTRAL DISTRICT OF CALIFORNIA
8

9                                          Case No.: SA CR 18-0846-PSG
     UNITED STATES OF AMERICA,
10                                         DEFENDANT MADI’S
                       Plaintiff,          SUPPLEMENTAL SENTENCING
11                                         MEMORANDUM
           vs.
12                                         Date: April 22, 2022
     ANDREW MADI,                          Time: 10:00 a.m.
13
                       Defendant.
14

15
                                          I.
                                     INTRODUCTION
16

17         Defendant, Andrew Madi, by and through Kenneth A. Reed,
18
     his attorney of record, hereby states his position regarding
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     the PSR and his upcoming sentencing.
20
                                      V.
21
                               Sentencing Issues
22
       Mr. Madi would like to submit th following letter from
23
     family and friends in his support.
24

25     •   Ximena Reynolds (Mother)
26
       •   Dean Reynolds (Step-father)
27
       •   Art Kinsey (father of Kayla Kinsey)
28



     US vs. Madi Madi Supplemental Sentencing Memorandum      18-CR-00846-PSG
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       •    Dilon Reynolds, (Cousin)
1

2      •    Angela Clark (family friend)
3
       •    Jacob R. Herr (friend)
4
       •    Jennifer Pecorella (family friend)
5

6      •    Kala Kinsey (girlfriend)

7      •    Amy Loska (therapist)
8
       •    Shashona Reynolds (sister)
9
       •    Erin Hernandez (former employer)
10

11     •    Kristine Gyamfi (friend)
12
       •    Derek Reynolds (brother)
13
       •    Natalie Reynolds (sister)
14

15     •    Peter Quesada (friend)

16     •    Summer Reyes (friend)
17
       •    Caleb Pilarski (former employer)
18

19
       •    Bob Reynolds (uncle)

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     US vs. Madi Madi Supplemental Sentencing Memorandum   18-CR-00846-PSG
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 3 of 50 Page ID #:474




       •   Mike Reynolds (uncle)
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2
                                      VI.
3                                 CONCLUSION
4
      Mr. Madi requests that the Court take the foregoing into
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     consideration prior to imposing the sentence in this matter.
6
     Dated: April 17, 2022
7

8

9                                      _______________________
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                                       Kenneth A. Reed
11                                     Attorney for Defendant

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     US vs. Madi Madi Supplemental Sentencing Memorandum   18-CR-00846-PSG
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                            Ximena Reynolds
                                Mother
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April 15, 2022


To the Honorable Philip S. Gutierrez,

My name is Irma Ximena Reynolds, I am the mother of Andrew Madi.
Andrew has been always very close to me as we have faced
challenges together, when Andrew was 4 months old (March -1994) I
found out his father, Joseph Madi, was married to another woman, I
tried to make our marriage work but the lies continued to destroy our
relationship. I had to request an official annulment for our marriage
and was approved by the law.

I met my future husband, Dean Reynolds, after I was separated, we
started a friendship without intentions to begin a relationship. Andrew
was my priority, but I truly believe God places good people in your life
with a purpose and Dean was one of them.

When Andrew was about 9 months old, we moved to Topeka, Kansas
to live with an amazing family back when I was an exchange student,
and the family wanted to support me and Andrew to start a new life. I
didn’t have to work and I was able to stay home taking care of Andrew,
free of stress.

On October of 1994, Andrew met his future step dad (Andrew was 11
months old), Dean Reynolds, and they both connected. Dean was
very loving and caring, as a single mom that was very important for
me. I married Dean Reynolds on December 28, 1996. Since then, we
had two additional kids, Derek and Natalie and it was a beginning for
our life as a family in San Clemente, California.

Andrew grew up with an amazing step father figure who taught
Andrew to be polite, kind, loving and respectful. Andrew’s father
Joseph Madi, was present on and off in Andrew’s life, he will suddenly
call or show up by the door and then disappeared. In one occasion,
we didn’t see or hear from him for about two years. When Andrew was
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around 12 years old his dad, Joseph Madi (44 years old) passed away
suddenly by a heart attack. This was very hard for Andrew. After this
event, Andrew’s behavior was more difficult than normal, he always
had strong temper, but definitely Andrew was angry and hurt. Family
therapy helped Andrew, he seemed to be happier, excelled in school
and sports. Andrew was smart and driven, he wanted to become an
orthopedic doctor, he had big dreams. Andrew loved playing soccer,
he was committed and trained hard to become part of his high school
team.

Andrew applied for college and was accepted at Northern Arizona
University. We were so proud and happy for him. It was a dream as
his mother to see Andrew to earn a college degree.

During his last year of high school, his behavior changed, he became
more explosive, family became less important and friends more
important, we though was part of a teenager life process while getting
ready to college. As we trusted Andrew to continue to excel in college,
we had make plans to move to Ecuador, South America where I am
from.

Andrew’s college life from the beginning was a constant struggle. He
was expelled twice, to my shocking surprise he was smoking pot and
getting in fights. Andrew kept average grades, but I knew something
was wrong, when we talked he simply said he felt very unhappy and
extremely anxious with his life. Two years after, we decided to
comeback to USA and Andrew decided to move back to California and
into our house.

For first time, as a mother I experienced the reality of an addiction.
Andrew slept all day and when he was awake, he was mean, moody,
irritable, he had no appetite. I was going crazy trying to figure out what
it was. We offered him family therapy, but it didn’t help. We started to
search his room, his car and to check his phone, initially we thought
was just “weed” and I was told by Andrew that was “normal” as it
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helped with his anxiety. I don’t believe in the benefits of weed, in my
opinion week was the pathway to Andrews addiction.

I searched his room constantly and in addition to weed, found pills and
a form of heroin. We were torn and broken heart, by recognizing that
Andrew was involved in different kinds of drugs. As his mother, also
my behavior changed, I became obsessed to help Andrew and many
times in denial with this addiction and as a mother, I wanted to save
Andrew. I believed on his lies, asking for money or pretending that he
was feeling sick and couldn't find a job, an addict is a very effective in
manipulation, so when we tried to set boundaries (we kick him out of
the house in multiple occasions), Andrew convinced us that he will
improve his behavior and promised multiple times he wont be taking
pills or doing drugs, but he never stopped.

 Andrew’s behavior continued with violent, crazy and erratic. My
husband asked me to leave the house with our younger daughter, he
wanted to wait for Andrew and was going to call the police. My
husband was kicking Andrew out of the house and wanted the police
there when asked Andrew to leave the house. We didn’t see Andrew
for months as we were advised that the only way to save and addict is
to let them touch bottom without family or friends.

As a mother, I didn’t understand the concept of “letting your kid touch
bottom” this means no help, or basically, if you kids is willing to
overdose you need to let this happen, because that is his choice.

I struggled mentally to accept the addiction of my son. I was
diagnosed as a co-dependent parent, as I was trying to do everything
to save him, including failing my marriage, we were very close to a
divorce. My other two kids were hurt by the obsession I had for
Andrew, as I completely ignored their needs for love and care, when
you become co-dependent parent of and addict. You believe no one
understands the pain and you sink with guilt and remorse of that you
could have done right for the addict. I became closer to God, continue
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to follow family therapy and I was able to find peace on letting Andrew
find his own way.

Andrew was in and out of treatment centers trying to get sober, but he
failed multiple time, when I wasn’t in contact with Andrew, my heart
was always with him and mentally I was always thinking about him,
many nights without sleep and wondering if he will be hungry or cold,
or waiting for a sheriff to inform my son is in a hospital or maybe
death. Addiction could kill the addict, but kills deeply the relationship
within the family.

Andrew’s arrest was not a surprise, in some way we were relieved, he
was alive. Jail time taught him to value his family, he found God as his
strength and support, the system provided Andrew with the
opportunity to become sober and he has maintain his sobriety for the
past 3.5 years and he continues grow his spirit as a Christian believer
with time he rebuild the trust and relationship with our family, lived
initially in a sober home, found a job, did volunteer work and helped
and supported addicts that experience the up and downs and the
struggle with addiction, and then he moved to live back in our house in
San Clemente. We were afraid as Andrew has disappointed us and
failed our trust for many years, but this time was different. Day by day,
Andrew was the loving, respectful and trustworthy son that we raised.
We laughed again and share deep conversations about his addiction,
the pain he has caused on many people. Andrew has grown a very
deep appreciation for family and friends who will support him even
when he goes to jail.

 A life was taken because two young men, both suffering from
addiction. One request to buy, the other to sell. Two families have
been broken in pain, one son goes to jail and the other one has died.
The problem is not solved, and never will be solved, please give hope
and mercy to an addict that has shown remorse, affliction, desire, and
the commitment to change.
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 Andrew will always have a deep remorse of his bad decisions and
lives everyday with the pain of his mistakes. He is facing with courage
the consequences of his actions. Andrew never meant to harm
anyone. He was sick by the horrific disease of addiction. As a mother,
I implore you to have mercy and compassion.

Sincerely,


Ximena Reynolds
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                              Dean Reynolds
                               Step-Father
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 11 of 50 Page ID #:482



April 15, 2022



To the Honorable Philip S. Gutierrez,

I write to the federal government during a very difficult time and situation for two families greatly
impacted by their children’s addiction. It is with overwhelming remorse to write such a letter detailing
my stepson’s (Andrew J. Madi) challenges he has dealt with in his life, that I firmly believe, lead him to a
drug use and ultimately, addiction.

My wife and I married in December or 1996. Andrew has been my stepson (though I call him my son)
since he was around two years old. At that young age, and for many years after, Andrew didn’t
understand the difference between me and his biological father. Naturally, Andrew was filled with
happiness when spending time with his father. Andrew’s father lived an hour away in Los Angeles and
often would miss weekends due to either the drive to San Clemente or his work. Unfortunately, this
continually created problems for all of us. Eventually his father remarried and had a child with his new
wife. We weren’t sure if this impacted Andrew in any negative way. After a few years of semi-regular
visits, Andrew would be around nine years old or so, his father stopped calling and visiting. We had no
idea where he was, and he made no contact with us or Andrew. This was devastating to Andrew. When
his father reappeared after almost two years, his father made up, what we believed, were lies on his
whereabouts. He said he was in his native country of Brazil with family and also in the hospital with
severe health problems.

Carefully, we allowed his father to re-enter Andrew’s life. After a couple years of being back in Andrew’s
life, his father passes away. His father was only forty-four, and Andrew was about twelve years old. As
anyone could imagine, this was devastating to Andrew. At the time, neither my wife nor I understand
what anxiety really meant in a child, but looking back on it, Andrew really was filled with anxiety. The
following years proved to be challenging for us as a family.

By this time, our family had grown by two more children with a brother and sister to Andrew. My
personal work schedule during the years of 2002 to 2008 was hard for the everyone. I was travelling half
the month and problems were growing at home – especially with Andrew. He and I were having lots of
confrontations in his high school years. My wife and I figured most of the problems were typically
teenager problems, but in hindsight, I believe we missed the signs of Andrew’s deepening pain and
anxiety. Our confrontations weren’t physical, as in beatings, but lots of holding back and wrestling
during verbal outbreaks at his mom, or siblings.

Andrew is a bright kid and was excited to start college. We felt his move to college would be good for
him and provide some independence. He went to Northern Arizona University. My wife and I moved to
her native country of Ecuador after Andrew settled into college. Once again, we didn’t think about the
move having an effect on Andrew, but it did. He blamed us for many things, especially that we had
abandoned him. My wife and I truly didn’t understand how Andrew could be thinking this, as all he
wanted was to go off to college and start his own life. During our time away, huge problems with
Andrew continued while in college. We had no idea that his behavior was due to drug use. We never-
ever thought Andrew would turn to drugs, and because of this, we never saw the warning signs. After
two years in Ecuador, we moved back to San Clemente. Andrew asked if he could come back and live
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with us. We welcomed him back. Shortly after, but still oblivious, we started seeing all sorts of crazy
behavior from Andrew. Andrew denied everything we talked to him about his behavior. He became very
manipulative with us, blaming us for his problems, refusing to acknowledge bizarre events we witnessed
first-hand, and created divisions between my wife and I, and our daughter. Andrew would continue to
lose his jobs then turn it against us. I could write pages and pages of events that happened in the house,
but best to say, it forced my wife and I to really press into understanding the drug use, and eventually
determining his was an addict.

Eventually, we had to kick him out of the house. He lived in his car until one point he was picked up by a
rehab center. This was the beginning of many failed attempts to get clean. Eventually, we lost all contact
with him and had to find comfort in not hearing bad news from the police or a hospital. I still remember
the day when a deputy called me to say Andrew had been arrested.

The following months and year proved to be a huge challenge for Andrew to work through his addition,
but from all reports during treatment, Andrew never failed any drug test or had disciplinary problems.
Andrew is an example that the system can work for a person if the person is willing to own their
addiction and work at the psychological side of addiction. After his mandated treatment, then followed
by living in a sober home, Andrew moved back home. He has maintained his sobriety, his employment,
paying rent at home, and met all requirements with his parole officer for over three years. I see Andrew
owning his addiction, and the crime that came from it. I see him deeply remorseful of the outcome and
has continued with private professional counseling and group sessions at our local church. He helps
other friends dealing with sobriety by attending meetings with them in support, but I believe for himself
too. I know Andrew is cured of addiction, and I am so proud of him for facing the all the problems from
his past head on and coming out of it a changed man. I love my son.

As parents, we are devastated with the tragedy for all involved, as the core of this tragedy, is addiction.

With respect,



Dean Reynolds
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                                 Frank Lopez
                                Housing Services
                                   Manager
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 14 of 50 Page ID #:485



April 8, 2022

To whom this may concern:

In 2019 as the world seemed to come to a halt due to a global pandemic, the rising need for mental
health surged along with it. During this time, I landed a position at First Light Recovery working with
individuals suffering with mental health and substance abuse. Working in this field requires strong effort
from the staff to overcome emotional obstacles while being structured enough to make a difference in a
person’s life.

I am writing this letter on behalf of Andrew Madi. I met Andrew in 2019 while working at FLR. While we
shared many moments in serving our community, we quickly developed a close bond and friendship.
Andrew’s work ethic demonstrated him as responsible and focused. He was reliable, honest, and always
had our client’s best interest at hand. Unaware of Andrew’s ongoing legal case, this young man
managed to show up every day for our clients. He was committee to seeing them succeed. Andrew soon
enough briefed me about his challenges. He addressed his shortfall in judgement and how he had
accepted responsibilities for his actions.

Working in this field for over 20 years I’ve come across individuals who are unable to recognize the error
of their ways. However, Andrew has not only accepted, but has worked endlessly to change his life
around. Staggering legal issues can take a toll on people but Andrew has set goals in his life to change
for the better. I admired his effort to change his life around, but what impressed me most about Andrew
is how he uses his past experiences to help others in need. He is perfect example of a young man who
was given a second chance at life. Alike the clients we serve, Andrew too is a success story. He continues
to make the necessary changes to move forward. I am proud of his grit and ability to overcome the
many obstacles he has faced.



Best,

Frank Lopez

Housing Services Manager

(949) 208-3927

flopez@jamboreehousing.com
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                              Art Kinsey
                         Father of Kayla Kinsey
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 16 of 50 Page ID #:487




To Honorable Philip S. Gutierrez:

I am writing this letter because I believe that Andrew Madi is a young man of exceptional
character. Andrew has been in a relationship with my daughter for a number of years now and I
have always been pleased to see the joy they bring each other.

Despite the difficult patch that he went through, Andrew’s behavior and willingness to accept
responsibility for his actions both while being held in custody, and later in supervised living,
show that he is a leader that is truly regretful about what happened.

The first time Kayla brought Andrew to a family dinner, my mother pulled me aside and said,
“he is a good one… Grandmothers know these things.” I asked her to explain, and she went on
to describe how when we all sat down, Andrew first filled her water glass, and then Kayla’s,
before finally filling his own. “And it is quite obvious that he is a kind soul,” she continued. To
this day, I believe her initial assessment was spot on.

In my opinion, Andrew has learned some rather serious lessons and more than paid for his
error in judgment. On his behalf, I would ask that the court take his strength of character and
exemplary behavior into account, sentence with a light hand, and allow him to move forward
with his life.

Sincerely,
Art Kinsey
Father of Kayla Kinsey
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 17 of 50 Page ID #:488




                              Dilon Reynolds, MPA
                                     cousin
   Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 18 of 50 Page ID #:489




April 12, 2022

Dear Honorable Philip S. Gutierrez,

I am writing this letter on behalf of Andrew Madi. My name is Dilon Reynolds and I am Andrew’s cousin.
Growing up, Andrew and I were inseparable, we did everything together. All my greatest childhood memories
are with him, the good times and bad times. The bond that we had from such a young age is something I wish
everyone could have growing up. I don’t consider Andrew my cousin, I consider him my brother, the brother I
never had. We shared our lives together, all our secrets, all our sadness, all our laughs, ever second of everyday
we were together. As we got older and headed to high school, we were having the times of our lives. We both
got our drivers licenses, we worked at the same restaurant my uncle owned; it was hands down the best days of
my life.

In 2012, Andrew graduated high school and headed to college, I was already in college in San Francisco. We
spoke all the time throughout college, like nothing had changed. In 2016, I noticed something was wrong, and
Andrew wasn’t the person I once knew. His struggle with drugs and addiction caught up to him and it was taking
over his life. The secrets, the lies, the untrustworthiness was surrounding him. This disease is unfortunately to
common in America and I never knew that someone so close to me was going to be affected by this horrible
addiction. The bond and trust we once had was starting to fade. I couldn’t rely on Andrew; I couldn’t trust him;
but no matter what I always had his back because he is my brother.

In 2018, my life came to a stop. When I received the call about Andrew and what had happened, I was
devastated, I was angry, I was numb. Despite all of this, and the legal issues Andrew was facing, Andrew and I
never stopped talking. The bond we once had started to come back and little by little it felt like we were back,
back to how things started. Andrew opened up to me and explained all that happened and all that he is faced
with. What Andrew is charged with is no secret, he doesn’t want to keep it a secret because Andrew has
accepted responsibility for his actions and wants to change.

Being sober a little 3 years, Andrew has made giants leaps. I can’t begin to explain how proud I am of him for all
the success he has had in the last few years. All of the hard work he has done and all that he is giving back to his
community by working in mental health and substance abuse facilities goes to show that Andrew cares and
knows what he did and wants to continue to fight not only for himself but for those who are experiencing long
term mental health and substance abuse issues. Working in these facilities, surrounded by all the drugs and
alcohol, Andrew continued to stay sober; his vision of success was endless. By accepting responsibility of what
he has done and what he is charged with allowed him to be vulnerable and help others who are in desperate
need, just like he was. Andrew is the success story that all who suffer with mental health and substance abuse
strive to be. Andrew was given a second chance at life and I am beyond proud of him. I admire all that he has
done and all that he is doing to move forward and continue to be the success story he is.

Best,

Dilon Reynolds, MPA
Office of Emergency Services Coordinator
(949) 547-7746
dilonreynolds91@gmail.com
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                           Angela Clark
                           Family Friend
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 20 of 50 Page ID #:491




Your Honor,

I have known Andrew Madi since he was sixteen years old. He spent a lot of time at
my house during his teen years and into his twenties. He was always the young man
that took my trash out without being asked, cleaned dishes, and helped in any way
he could when he was a guest. He has remained a loyal and best friend of my son
over the last ten years as well as has kept his relationship with our entire
family. Witnessing Andrew’s life over the years he is loyal, caring, and committed to
so many. It is devasting to see a young man be in this situation with so much
potential.

Andrew is having to face unbelievable circumstances in his life. What I have
witnessed is a person that has stayed positive, honored his sobriety, and followed
through with the requests from the court over the last three years since his
arrest. He has remained strong in his faith and continues to be there for his friends
and family. He has a big heart and has always been there for our family throughout
the years.

As a mother of a son and daughter I humbly ask you to look at Andrew as a son, a
friend, a grandson and have grace upon him. He has so much to give to this world
and I do believe he will continue his personal growth in the most positive way to
build a productive life.

Sincerely,

Angela Clark
949-413-0016
angelaclarkoc@gmail.com
04/10/2022
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                         Jacob Robert Herr
                               friend
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 22 of 50 Page ID #:493



                                                                                       04/08/2022

To Whom It May Concern

My name is Jacob R. Herr, and I am writing this letter as a reference of character for my good
friend, Andrew Joseph Madi. I have known Andew since Junior year of high school 2011. When
I first met Andrew, I immediately understood that he was a genuine and kind person. We
remained friends throughout High School and Andrew was always a pleasure to be around, his
actions always stood out to me as a sharp contrast to the rest of our classmates. He always had a
calm and relaxed demeanor and put others first. His kindness, selflessness and generosity stood
out to me and those qualities about him I have always found admirable. After High School, we
kept in contact for several years until eventually falling off due to lack of frequent
communication.

Years later in 2020 we became re-acquainted by coincidence when he came into my retail store.
That old friendship was immediately picked back up and it was great to see him in better spirits
than ever. After speaking with him for a while I had found out that he was also in recovery and
had been sober 2 years at the time. I was stunned to find this out as I had a similar experience
and have been sober since January 3 I51,2019. Andrew and I attended a meeting of alcoholics
anonymous that night for him to celebrate his 2nd birthday and have been in constant contact and
have regularly attended meetings together since.
I am aware of the allegations that have been made against him in his federal case. This set of
circumstances, as shocking as it is, does not even remotely describe the Andew that I have
known for the past 11 years. In the past couple of years, the previously mentioned character traits
I had always known have flourished and grown. I have seen Andrew support fellow alcoholics
and addicts including myself with their recovery and provide words of comfort and hope.
Although hard to imagine for some, the circumstances we get ourselves into as drug addicts and
alcoholics are often very serious and not reflections of our true character, rather that of our
addictions and character defects, personified and escalated. I personally went down and painful
road with alcohol and drugs and I am grateful to have come out the other side as a strong sober
man. I see many great qualities in Andrew that he can bring to society, and I believe that he will
continue to do the right thing and use his negative experience to the positive benefit of others as
he always has.
Thank you for your time and consideration,
Jacob Robert He1T

910-444-9825
Airjake777@icloud.com
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                       Jennifer Pecorella
                        Andrew’s mom
                          best friend.
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To whom it may concern:

I have known Andrew and his family for 16 years, our family spent a
lot of time together as friends and neighbors. Andrew always stood out
to me from the moment we met, I had two small kids and Andrew was
always willing to help. Andrew was kind, social, respectful and funny
and an absolute pleasure to be around.

As Andrew got older the conversations with him got more and more
meaningful, he had a passion for life and sports and excelled as his
parents shared that after many years of playing soccer he made to the
soccer team of San Clemente high school, which is hard and
challenging to become part of.

There was definitely challenging times for the family when he was a
teenager, but it seemed to be managed very well by his parents. His
mom shared with me about Andrew going to family therapy to help him
heal from past traumas of his biological father coming in and out of his
life, then passing away around age 12. His parents loved him and
were very supportive.

Andrew went to college in Arizona and I didn’t see him for a couple of
years, during his last college year his mom, who is a very close friend
shared with me the family struggles. Andrew, was failing classes,
feeling unhappy and experiencing anxiety, the family supported his
decision to move back to California.

Few months after Andrew moved back, his parents begun to witness
his addiction and behavior with multiple times he was place in
recovery treatments, but Andrew didn’t see to become sober, his mom
shared her constant pain and stress combined with lack of sleep and
marriage challenges. The siblings did not wanted to see or spent time
with their brother. Andrew’s addiction was taking a huge toll on the
family. The family struggled for over 2 years with his addiction, it was
very sad to receive the news that Andrew ended up in jail.
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Few months after Andrew’s mom shared that Andrew was temporarily
released from jail on bond and would be placed in treatment during
the investigation of his case. Parents started to visit Andrew as he
seemed to be progressing with his sobriety, also Andrew had become
a Christian and spiritually he had become close to God. I was very
happy to hear Andrew found support spiritually and a peaceful path.

When Andrew moved back to his parents house, we spent time
together with meaningful and interesting conversations, he is smart,
funny and very charming. I love dogs and Andrew does too! Its always
fun to talk to him as we have that in common. I have witnessed his
sobriety and change, and Andrew has become again the amazing
young man that was raised by a great loving family.

Andrew owns his horrible mistakes as an addict, but I have witness
Andrew’s efforts and desire to change, he has become a responsible,
loving, hard working young men. Andrew celebrated 3 years of
sobriety and is kind and caring. Addiction took a big part of his life, but
also he has become a better young men that is grateful for a new
opportunity to live a clean life and with full appreciation for life, family
and friends.


Sincerely,


Jennifer Pecorella
Andrew’s mom - best friend.
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                                   Kayla Kinsey
                                    Girlfriend
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April 14th, 2022



To Honorable Philip S Gutierrez:

I met Andrew Madi in June of 2017 and we began a serious relationship during the months to
follow. He was always honest with me about his prior experience with addiction, however
sometime in 2018 unbeknownst to me, he unfortunately relapsed. I began noticing small
changes in his habits, his temperament, and desires, but by the Fall – I could no longer
recognize the person I knew and loved.

This wasn’t my first time dealing with a victim of addiction. My mother was an alcoholic who
died suddenly in 2015, at 45 years old. Addiction is a perilous disease that plagues families
everywhere, far too frequently. I believe that the individuals who are lucky enough to come out
on the other side with honor and respect for their sobriety, like Andrew, hold a unique sense of
responsibility to position themselves in a way that allows them to give back, and walk others
through the path of sobriety. Andrew openly and proudly echoes these beliefs in a way he
didn’t before, and proves to me how dedicated he is to this new life chapter.

To say that Andrew is a different person would be a vast understatement. He has accepted
accountability for his wrongdoings, made every effort to right them, and actively works to
better himself and the people around him on a daily basis. With 40 months clean, and counting,
he is a leader in the sober community, who values his loved ones above all else.

Andrew possesses a deep understanding of how fortunate he is to have a second chance at life,
as a sober, productive, and giving member of society. I can say with absolute certainty that it
would not be a mistake to exercise grace when it comes to deciding the future of this
exceptional human being. I respectfully request that you have mercy, consider how far he has
come, and how much he has to lose.

Andrew has so much good to do and give to this world. And I know with all of my heart that he
is meant to do so as a free man, now.

With hope,
Kayla Kinsey
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                          Amy Loska
                     Therapist, ASW 92734
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April 12th, 2022

To the Honorable Philip S Gutierrez:

       I am writing this letter on behalf of Andrew Madi. During 2020, at First Light Recovery,
       I was a primary therapist and observed Andrew received a job as a Behavioral Health
       Technician. He is someone you immediately connect with; he is very charismatic and
       personable. He always has a smile and brought positive energy, an optimal candidate
       while working in mental health/ substance abuse residential treatment.

       Andrew provided reliability, flexibility and promptness daily for his coworkers and
       clients. He was open about his history with decision making, and willingly to share about
       his remorse, regret, shame and responsibility from mistakes made in prior years. I have
       personally watched Andrew grow emotional and mentally along with watching him
       touching hundreds of clients.

       I am aware of the charges Andrew faces and I do not believe he should be bound by his
       failures in this court room. Andrew is an individual who brightens a room with his spirit
       and strength, and provides a non-judgmental environment for his friends, family, and
       clients. I have observed him address clients with severe mental health issues ranging from
       mild mood disorders to suicide attempts during their short treatment stay, he maintained
       being empathetic, decisive and professional in order to meet the clients needs and
       communicating with management. I truly admire Andrew’s ability to be positive and
       flourish from his aberrations and judgements while maintaining his sobriety in order to
       contribute to moving his life forward and using his experience to aid others.

       Often working with clientele in a rehabilitation treatment program individuals find
       themselves in the cycle of recidivism though Andrew has shown and continues to be a
       triumph while sharing, relating, and being an example for individuals struggling with
       addiction and mental health challenges. Andrew being locked up for a long time would
       be a loss to our community and enable the belief individuals cannot change, and learn
       from their past.

       I commend and respect Andrew for the challenge he has overcome and continues to face
       from his past decisions.

       Sincerely,

       Amy Loska
       Therapist, ASW 92734
       The Center for the Treatment of Addiction / First Light Recovery


       (949) 338-2922
       amyloska@icloud.com
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                          Shashona Reynolds
                            life long friend
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Shashona Reynolds
34 Rambling Ln.
Aliso Viejo, CA 92656


April 13, 2022




To whom it may concern:
       Thank you for the opportunity to provide you with this letter on behalf of my nephew
Andrew Madi. My name is Shashona Reynolds. I am the Director of Events for Mastro’s
Steakhouse and have been employed with this company for over 11 years. I have known Andrew
since he was a year old. I have had the pleasure of watching Andrew grow up alongside my
daughter Kendall (his cousin) and attend the same high school in the close-knit beach
community of San Clemente, CA. I have spent many holidays and life moments with Andrew
over the years. I am aware that Andrew has struggled with addiction, which at one point
resulted in the reason why we are here now. The events were shocking and have been heart-
wrenching for our family.
        Andrew acknowledges that this offense has resulted in pain for all families involved, and
although unable to undo the offenses done, he is committed to turning his life around. I know
Andrew is truly remorseful for the events that occurred and is committed to his sobriety, as well
as his commitment to God and faith. Andrew is one of the kindest/sweetest people I know –
always quick to lean over with a big hug for his 5’1” aunt. I am pleading that the court to take
this into consideration. Please know that he is also surrounded by family and friends who are
committed to seeing him succeed in becoming a long-term contributing member of society.
       Thank you for your time and cosnideration.


                                                            Sincerely,
                                                            Shashona Reynolds
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                               Erin Hernandez
                      Operational Manager/Administrator
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 33 of 50 Page ID #:504




To The Honorable Philip S. Gutierrez:



My name is Erin Hernandez, and I am writing a letter on behalf of Andrew Madi. I hired Andrew
to work as a mental health technician in 2020. When I first met Andrew, I immediately knew I
wanted him on our team. He is honest and presentable. Andrew was always on time and did
fantastic with interacting and helping the mental health patients reach their goals in getting to
understand and manage their mental health. Andrew would go out of his way and make sure the
patients were taken care of. When Andrew told me he was leaving to go to another company to
better himself I was sad to see him leave as all the patients and staff loved working with him and
I enjoyed him being part of the team.

After Andrew left to work on building his dream career he has always stayed in touch and is
always open to helping us out when needed. Andrew has done things in the past and he has
changed for the better. I am asking the courts, jurors, and prosecutors to please understand he has
been clean and sober and has done everything is his power to continue to be a better person. He
will always be welcome to come back and work for me. I am praying all the progress he has
made in the past few years shows just the type of person he has become.

I am pleased to know Andrew and I am proud of his accomplishments and how he has changed
his life around for the better. Because of the changes he has made I am praying he has proven
himself to not be that same person and he has learned from his mistakes and wants to continue
helping the mental health community alongside the substance abuse community.




Sincerely,

Erin Hernandez
Operational Manager/Administrator
562-308-6038
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                         Kristine Gyamfi
                              Friend
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Honorable Judge Philip S. Gutierrz,



       Hello, my name is Kristine Gyamfi. I have been friends with Andrew the defendant for
about 3 years now. Upon meeting him I knew we would be good friends. As one of my very first
friends when I moved out to California for school, having someone like Andrew in my life was a
blessing. We had originally bonded over church when we met, we both knew our relationship
with God needed growth and consistency and we could help each other in that aspect. Andrew
is kind, considerate, and has such a sincere soul. After knowing him for 2 weeks my birthday
had arrived and he knew I did not have anyone out here to celebrate with me. He took me out to
lunch, spent the day with me and for that I am forever grateful. He has been there for me from
the very beginning and has been my closest friend since. I know I can count on him whenever I
need him. As we have gotten to know each other over the years I see his resilience, everything
that has been thrown at him concerning his case, Andrew has held his head high and kept on
moving. I rarely saw him down as everything was looming over him, every drawback he pushed
through. I have never heard him make excuses for what got him in this position. He accepted
the part he played in what happened and has been doing everything in his power to be on the
right path and stay there. I can only imagine what he has been going through mentally and
emotionally but he still prevails. He inspires me because life has not been easy for him but he
still finds a way to keep pushing and moving forward.




Respectfully yours,


Kristine Gyamfi
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                            Derick Charles Reynolds
                                    Brother
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 37 of 50 Page ID #:508
Derek Charles Reynolds
560 45TH Ave
San Francisco, CA 94121
April 12th, 2022

To Whom This May Concern,

        I'm writing on behalf of my brother Andrew Madi. Thank you in advance for taking the
time to read this. It is a privilege to have the opportunity to write this.

        For as long as I can possibly remember, Andrew has always had a positive impact in my
life, whether that be in school, playing sports, or in my professional career. He has always
encouraged me to be the best version of myself and to always treat others with respect and
empathy. I’m truly grateful to call him my big brother.

        Despite my brother's struggles with addiction a few years ago, I couldn't be more proud
of the person he is today and the massive hurdles he's overcome. Seeing how much he has
truly evolved within the last three years within the community, his workplace, and our family is
incredible. His ability to help others and be the positive reinforcement that so many people need
nowadays is truly special to witness firsthand, and I hope to replicate those same characteristics
in my everyday life. I sincerely believe that Andrew's mission to leave a positive footprint in this
world is just the beginning of something beautiful, and with all things considered, our family and
friends will always support and love him by continuing to show our support every day for many
years to come.

       I sincerely hope the court takes this letter into consideration at the time of sentencing,
and I can't thank you enough for your time in reading this.

Sincerely,

Derek Charles Reynolds

Derek Charles Reynolds
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                               Natalie Reynolds
                                    sister
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 39 of 50 Page ID #:510



                                                                                            April 13, 2022
To whom it may concern,

          Strength is defined as “the capacity of an object or substance to withstand great force or
pressure.” My older brother Andrew Madi, is the living representation of strength. I believe that the
day my brother was born was the day he began an uphill battle that he continues to climb to this day.
But with great strength, capacity to withstand force, determination, and a lot of hard times I’ve had
the luck of seeing my older brother triumph through the difficulties. Difficulties that consist of losing
his biological father at a very young age, dealing with behavioral impulses, addiction, and trauma. I
know some people will never have the luck of seeing their loved one triumph through the difficulties
of addiction, and for that my family and I will always be indebted to God. To be able to see Andrew in
his best self today, is a blessing that my family and I acknowledge everyday.
          Andrew Madi is not a criminal. He is a victim of the chokehold of addiction. On paper, it may
seem that my brother, Andrew Madi is a cold-hearted person, but in all honesty I am here to explain
that I saw first hand how this disease controlled my brother's mind, heart and moral compass. I know
my brother Andrew; he protected me at 1 years old, played dress up with me at 5 years old, rode
bikes with me at 8, took me to waterparks at 10, drove me to Carl's Jr and Blockbuster at 12. My
brother was not there for me at 13, during my awkward middle school years. My brother was not
there for my first day of highschool at 15, and for my prom at 17. Instead he was dealing with an
invisible enemy that I could never understand at the time. Addiction. My brother’s addiction
implicated issues across the rest of our family, issues that I resented him for. My mother’s pain and
my father’s stress made for a very turbulent time in the household. I was young and did not
understand the extent to Andrew’s addiction or addiction itself really. Through these hardships,
Andrew has picked up the pieces and although it took a lot of pain, suffering, trauma and stress for
everyone I can firmly and honestly say that every part of Andrew has changed since the tragedy in
2018. If my older brother, Andrew Madi, were a criminal he would not be included in the 24% of
Americans that have stayed sober for 1-5 years post addiction. He would not have repaired every
single healthy and honest relationship he had prior to his addiction, being his family and close
friends. He has kept jobs, relationships and friendships. You would never think in one million years
that Andrew has been through what he has been through if you weren't told. It would be an unjust
decision to put someone of so much potential, so much strength and so much love for the world
behind bars.
          Andrew loves Mexican food and chick-fil-a, video games, music, energy drinks and making
friends. He loves our family, nerdy movies and animals, especially our dog. He’s hilarious, sociable
and has a bright amicable energy. He is one of those people that makes you feel like you’ve known
him for 10 years and not 10 minutes. He has the biggest smile, loud laugh and obnoxiously funny
mannerisms. He is my big brother, the person I look up to. No matter what happened in the past
Andrew proves to me time and time again that no matter what life throws at him, he’ll take the hit and
come back stronger. His destiny and purpose goes beyond the four walls he may be bound to by
your decision. He is resilient.
          I feel deep empathy for the Gertsh family. I will never truly know the pain, but I will say that I
had dreadfully waited for the day we got that call that it was Andrew. Alex Gertsh and Andrew Madi
both loved their families, music, being outdoors and enjoying life. They both got caught up in really
difficult situations. Andrew had been a customer/addict like Alex, thousands of times. By God’s
mystery we will never know why things turned out the way they did because both men had so much
potential. I know Alex was a musician and actor, and seemed like a great person with a loving family.
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These men are not different except that Andrew had fallen deeper into addiction. I pray that Alex’s
family see that my older brother Andrew Madi is not and never has been a bad person, but rather
similar to their son. We all want to fight this battle of drug addiction and overdose, but incarcerating a
great example of how great the rehabilitation system and justice system can be and would be a
detriment to the war on drugs. Andrew is a prime example of how many people are caught up in the
wrong situation and need some support to unlock their full potential as well rounded and exceptional
members of society.
         I beg you, or whomever is reading this today to please consider my honest words. Please
consider that we are fighting an invisible enemy, and that by incarcerating Andrew, we perpetuate
the idea that addiction is bound to trap you regardless of sobriety. Andrew Madi would be a waste of
money to keep incarcerated as he has not offended again. Andrew Madi would be a waste of
resources as he is fully recovered and sober. Andrew Madi deserves no spot in jail with killers,
rapists, cold hearted drug dealers and pedophiles. Andrew Madi pleads guilty to the counts but will
remain innocent in the eyes of God. Again, I beg you to consider my words as I conclude my letter
and thank you for your time. I hope that you see the good man that Andrew has always been and
has fully embodied today.




                                                                                              Thank you,
                                                                                        Natalie Reynolds
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                               Peter Quesada
                                   friend
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                                                                                      February 24, 2022

To Honorable Philip S. Gutierrez,



My name is Peter Quesada, I am writing this letter of reference for my sponsee Andrew Madi. I’ve
known Andrew for the last 3 years. When I first met Andrew, it was in a meeting of Narcotics
Anonymous. He was a newcomer, recently clean and sober. At the time I had about 8 years clean and
sober, now a little over 11 years. I have had the opportunity to sponsor Andrew for the last 3 years.
During those three years he has been able to stay clean and sober throughout the entire time and while
doing so has attended regularly, weekly meetings of Narcotics Anonymous and Alcoholics Anonymous
meetings and thoroughly working a strong 12 step program of recovery. For the last 3 years of knowing
Andrew I have been fortunate to be a part of his recovery and see the change from this young man who
came in to the rooms of recovery as a kid and grow to become a young man whom I’ve come to respect
entirely. While going through this process he has managed to stay clean, to stay positive, he has become
very sincere and show a great example of humility. I am hopeful for Andrew in this process, I hope you
get an opportunity to see the man I’ve been fortunate to get to know on a personal level and I know
that whatever the outcome may be that he will continue to be the great man, son and friend I’ve come
to know him as.



If you have any questions you’d like to ask me at all regarding Andrew, Please reach out at anytime my
personal contact information is below.




Peter Raymond Quesada

PRESIDENT- PRARQ Inc

PRESIDENT- PRNPQ Inc

PRESIDENT- NPQ LLC

PRESIDENT- PQ ECOM HOLDINGS LLC

Realtor, Coldwell Banker Realty

Mobile: 951.295.5201

Email: peter@peterquesada.com
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                               Summer Reyes
                                  friend
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To Honorable Philip S. Gutierrez,

        Thank you for allowing this correspondence to serve as a character reference on behalf of
Andrew Madi. I recognize that this account may potentially have no bearing on the charges that Mr.
Madi is facing and I only wish to impress upon the courts my experience since knowing him.

          Andrew has dedicated the past three years of his life to the betterment of himself and others.
Andrew has been an advocate for sobriety and has been actively involved in the recovery community. In
addition to what he contributes to the recovery community he is also an integral part of his church
fellowship. From my experience in knowing Mr. Madi I have been challenged by him to be the best
version of myself possible, to give back at every opportunity, to radiate positivity and hope even in the
darkest of situations. Andrew’s kind nature and good hearted disposition was evident within moments
of initially meeting him. I am tremendously grateful to call Andrew a friend. I hope that my account of
Mr. Madi’s character is something that you have the joy of experiencing for yourself.

Kind regards,
Summer Reyes
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                                 Caleb Pilarski
                               former co-worker
Case 2:18-cr-00846-PSG Document 98 Filed 04/17/22 Page 46 of 50 Page ID #:517




Caleb Pilarski

260 E. Davis St. #2237

Mckinney, TX, 75069




To the Honorable Judge Philip S. Gutierrez,


I have worked at the software company Review Wave for the past 15 months as
the Manager of Support and have known Andrew Madi as an employee for 5 out
of those 15. Andrew was forthcoming regarding his actions involved in this case
and showed a true desire to accept responsibility and to better himself as an
individual and member of society.

He was extremely beloved at our company and it was a joy to not only walk
alongside his recovery and sobriety but to watch him mature and grow as a
person. His energy and soul was infectious throughout our support floor and hr
quickly was promoted to our Onboarding Team which is the first impression of
our Company as well as the standard of our values and what we strive to be as
a support team for our clients.

I have gotten to know Andrew very well as his superior and friend and implore
the court to take this letter into consideration as his being let go from Review
Wave was solely based off of the Guilty Plea. He has been nothing but
outstanding as an employee and person.


Best,

Caleb Pilarski
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                               Bob Reynolds
                                  uncle
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April 11, 2022



To whom it may concern,

My nephew, Andrew Madi, has grown into a really good person through the course of his life after
becoming sober a few years ago. Before his addiction, as a child, Andrew had always been the super
loud laughing kid when we all got together as a family. My brother, Andrew’s stepdad, took the role of
parenthood with Andrew before having kids of his own. I really enjoyed watching the two of them
together. I didn’t realize how much my brother liked being a dad, and you could see Andrew naturally
gravitate to him. My brother added two kids of his own and they became of family of five. Andrew
excelled in sports and school – especially soccer where he could use his height and long arms to his
advantage as a goalie. I remember my brother sharing with me the hard times with Andrew’s biological
father, and how inconsistent he was in Andrew’s life. To add to this, Andrew’s dad passed away when
Andrew was still young, and after disappearing from Andrew for a couple years or more.

Andrew appeared ready to get into his life by heading off to college in Arizona. I only saw him a view
times during this period, but noticed when he moved back to San Clemente, CA that things with Andrew
were very different, but I couldn’t really say what it was, but things had changed. My brother, Andrew’s
stepdad, tried to explain the horrible things they were dealing with in the house when Andrew moved
back, but honestly, I didn’t understand it – especially the word “addict.” Only after his arrest did I
understand how bad things were. My daughter, who is a couple years younger than Andrew also tried to
explain to me, but I was naïve.

I didn’t see Andrew until about a year or more after his arrest and his time in recovery. When Andrew
moved back home, I realized that a person could recover from addiction, and I am so proud to say this
about my nephew. I know he suffers with his past, but he is an example of the system working for a
person who wants to beat addiction. I have heard Andrew confess his addiction to all of us, he has said
his apologies and wants to be an example of a reformed person.

Sincerely,

Bob Reynolds
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                               Mike
                              Reynolds
                               uncle
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April 11, 2022



To whom it may concern,

My name is Mike Reynolds. I am Andrew’s uncle by his mom’s marriage to my brother Dean Reynolds. I
have known Andrew since my brother’s marriage in 1996. Andrew has been in our family with my two
kids since that time and continues to be best friends with my son Dilon Reynolds today. Our families did
all the normal family things together. Early on, you could tell Andrew was a smart kid. He did well in
school, helped my kids with classes when needed and always had a spark to him.

Andrew’s life had it challenges well before his addiction. My wife and I remember seeing Andrew
struggle at a young age with his biological father go in and out of life from around ages 4-8, then
disappear for a couple years without communication, then reappeared for a couple years or so, then
died. Through middle school and high school, Andrew appeared to be doing well and went off to college.
At this point we didn’t see Andrew much since he was out of state. When he moved back to California a
few years later and lived with his mom and dad, that’s when we realized his life had turned in a bad
direction. The entire family tried to reach out and offer help, but at that time, Andrew wasn’t interested
in help. None of us understood what addiction was, nor did we ever think anyone in our family would
become an addict. The news of Andrew’s arrest was devastating to say the least. We shared together
the grief and sadness of the situation and at that point realized what addiction caused.

Seeing Andrew now, after 3+ years of sobriety, is encouraging that a person can beat this disease and
hopefully set examples for other addicts. During the past 3 years I’ve watched Andrew grow spiritually,
and very impressed with his work (job) and volunteering. Andrew is very aware of the cause and effect
of his past and has shared his remorse with me. He knows now that his life can only be led by staying
sober and being a good person.

Sincerely,



Mike W. Reynolds
